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           EXHIBIT A
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                                                     Underwritten by: Scottsdale Indemnity Company
                                              Home Office: One Nationwide Plaza • Columbus, Ohio 43215
                                    Administrative Office: 8877 North Gainey Center Drive • Scottsdale, Arizona 85258
                                                            1-800-423-7675 • A Stock Company

                   BUSINESS AND MANAGEMENT INDEMNITY POLICY DECLARATIONS
THE EMPLOYMENT PRACTICES, DIRECTORS AND OFFICERS AND COMPANY, AND FIDUCIARY COVERAGE SECTIONS OF THIS POLICY,
WHICHEVER ARE APPLICABLE, COVER ONLY CLAIMS FIRST MADE AGAINST THE INSURED DURING THE POLICY PERIOD OR, IF ELECTED, THE
EXTENDED PERIOD AND REPORTED TO THE INSURER PURSUANT TO THE TERMS OF THE RELEVANT COVERAGE SECTION. THE CRIME
COVERAGE SECTION, IF APPLICABLE, APPLIES ONLY TO LOSS DISCOVERED DURING THE POLICY PERIOD. PLEASE READ THIS POLICY
CAREFULLY.

THE LIMITS OF LIABILITY AVAILABLE TO PAY INSURED LOSS SHALL BE REDUCED BY AMOUNTS INCURRED FOR COSTS, CHARGES AND
EXPENSES, UNLESS OTHERWISE PROVIDED HEREIN. AMOUNTS INCURRED FOR COSTS, CHARGES AND EXPENSES AND LOSS SHALL ALSO
BE APPLIED AGAINST THE RETENTION AND DEDUCTIBLE AMOUNTS.

TERMS THAT APPEAR IN BOLDFACE TYPE HAVE SPECIAL MEANING. PLEASE REFER TO THE APPROPRIATE DEFINITIONS SECTIONS OF THIS
POLICY.


 Item 1.          Parent           North Florida Obstetrical & Gynecological           Policy No:            EKI3295685
                  Company          Associates P.A.                                     Agent No:             29406
                  & Mailing        11437 Central Parkway, Suite 105                    Renewal No:
                  Address:
                                   Jacksonville, FL 32224                              Agent Name            E-Risk Services, LLC
                                                                                       & Mailing             Northwest Professional Center
                                                                                       Address:              227 US Hwy 206
                                                                                                             Suite 302
                                                                                                             Flanders, NJ 07836-9174

                  Principal Address, if different from mailing address:




 Item 2.          Policy Period: From 5/6/2019 to 5/6/2024
                  12:01 A.M. local time at Principal Address shown above.

 Item 3.          Coverage Section and Limit of Liability
                  Directors and Officers and Company Coverage Section

                          1. Limit of Liability:
                              a. $5,000,000        aggregate for all Loss, subject to 1.b. and 1.c. immediately below.
                              b.                   additional aggregate for all Loss under Insuring Clause A.1., subject to 1.c, immediately below.
                              c. $5,000,000        maximum aggregate for this Coverage Section
                          2. Retention:
                              a. $0                each Claim under Insuring Clause 1.
                              b. $25,000           each Claim under Insuring Clause 2.
                              c. $25,000           each Claim under Insuring Clause 3.
                          3. Continuity Date: 6/1/1998



 Item 4.          Premium:         $21,918

 Item 5.          Discovery Period options:
                  1.   One (1) year =               100%         of the premium
                  2.   Two (2) years =              150%         of the premium

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                  3.   Three (3) years =        200%         of the premium
                  As provided in Section H. of the General Terms and Conditions, only one of the above Discovery Period options may be
                  elected and purchased.

Item 6.           Run-Off Period:
                  1.   One (1) year =           125%         of the premium
                  2.   Two (2) years =          145%         of the premium
                  3.   Three (3) years =        165%         of the premium
                  4.   Four (4) years =         185%         of the premium
                  5.   Five (5) years =         205%         of the premium
                  6.   Six (6) years =          225%         of the premium
                  As provided in Section I. of the General Terms and Conditions, only one of the above Run-Off Period options may be elected
                  and purchased.

Item 7.           Forms and Endorsements Effective at Inception of Policy:
                  EKI-D-1 (11/16), HLPDO (1-18), EKI-1 (04/08), EKI-P-1 (04/08), EKI-75 (04/08), EKI-75 (4-08), EKI-782 (01/09), EKI-1133
                  (10/12), EKI-787 (01/09), EKI-1606 (4-15), EKI-6 (04/08), EKI-8 (04/08), EKI-199 (04/08), EKI-14 (01/09), EKI-846-FL (11/09),
                  EKI-16-FL (02/09), EKI-1073 (01/12), EKI-784 (01/09), EKI-202 (04/08), EKI-17 (03/10), EKI-845 (05/09), EKI-783 (01/09), EKI-
                  351 (1-15), EKI-781 (01/09), EKI-775 (01/09), EKI-21 (04/08), EKI-899 (12/09), EKI-788 (01/09), EKI-990 (09/11), EKI-1511
                  (08/13), EKI-905 (03/10), EKI-1559 (4-15), EKI-37 (04/08), EKI-38 (04/08), EKI-19 (04/08), EKI-786 (01/09), EKI-276 -FL(11/10),
                  UTI-278g (09/06), NOTI0164FL (05/15)

Item 8.           Notices to Insurer:

                   Notice of Claims to:                                            Other Notices to:
                   Nationwide Management Liability & Specialty                     Nationwide Management Liability & Specialty
                   Attention: Claims Manager                                       Attention: Claims Manager
                   7 World Trade Center, 37th Floor                                7 World Trade Center, 37th Floor
                   250 Greenwich Street                                            250 Greenwich Street
                   New York, NY 10007                                              New York, NY 10007
                   MLSReportALoss@nationwide.com                                   MLSReportALoss@nationwide.com


These Declarations, together with the Application, Coverage Sections, General Terms and Conditions, and any written endorsement(s)
attached thereto, shall constitute the contract between the Insured and the Insurer.




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                                            Underwritten by: Scottsdale Indemnity Company
                                     Home Office: One Nationwide Plaza • Columbus, Ohio 43215
                           Administrative Office: 8877 North Gainey Center Drive • Scottsdale, Arizona 85258
                                                   1-800-423-7675 • A Stock Company




         In Witness Whereof, the Company has caused this policy to be executed and attested.




                      Secretary                                                  President

         The information contained herein replaces any similar information contained elsewhere in the policy.

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                                E-RISK MANAGEMENT TOOLS CENTER




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                                           A Stock Insurance Company, herein called the Insurer

                                    BUSINESS AND MANAGEMENT INDEMNITY POLICY

                                              GENERAL TERMS AND CONDITIONS
       In consideration of the payment of premium, in reliance on the Application and subject to the Declarations, and terms
       and conditions of this Policy, the Insurer and the Insureds agree as follows

           A. SEVERABILITY OF GENERAL TERMS AND CONDITIONS


                These General Terms and Conditions apply to each and every Coverage Section of this Policy. The terms and
                conditions of each Coverage Section apply only to that Coverage Section and shall not be construed to apply to
                any other Coverage Section.

           B. DEFINITIONS


                Whenever used in this Policy, the terms that appear below in boldface type shall have the meanings set forth in
                this Definitions subsection of the General Terms and Conditions. However, if a term also appears in boldface type
                in a particular Coverage Section and is defined in that Coverage Section, that definition shall apply for purposes of
                that particular Coverage Section. Terms that appear in boldface in the General Terms and Conditions but are not
                defined in this Definitions subsection and are defined in other Coverage Sections of the Policy shall have the
                meanings ascribed to them in those Coverage Sections.

                   1. Application means all applications, including any attachments thereto, and all other information and
                      materials submitted by or on behalf of the Insureds to the Insurer in connection with the Insurer
                      underwriting this Policy or any policy of which this Policy is a renewal or replacement. All such
                      applications, attachments, information, materials and documents are deemed attached to and incorporated
                      into this Policy.

                   2. Company means:

                          a. the Parent Company; and

                          b. any Subsidiary,


                       and includes any such organization as a debtor-in-possession or the bankruptcy estate of such entity under
                       United States bankruptcy law or an equivalent status under the law of any other jurisdiction.


                   3. Discovery Period means one of the periods described in Item 5. of the Declarations which is elected and
                      purchased pursuant to Section H. below.

                   4. Domestic Partner means any natural person qualifying as a domestic partner under the provision of any
                      applicable federal, state or local law or under the provisions of any formal program established by the
                      Company.

                   5. Extended Period means the Discovery Period or the Run-Off Period, if such provision is elected and
                      purchased pursuant to Sections H. or I. respectively, below.

                   6. Insurer means the insurance company providing this insurance.

                   7. Parent Company means the entity first named in Item 1. of the Declarations.

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                   8. Policy means, collectively, the Declarations, the Application, this policy form and any endorsements.

                   9. Policy Period means the period from the effective date and hour of the inception of this Policy to the
                      Policy expiration date and hour as set forth in Item 2. of the Declarations, or its earlier cancellation date and
                      hour, if any.

                  10. Run-Off Period means one of the periods described in Item 6. of the Declarations, which is elected and
                      purchased pursuant to Section I. below.

                  11. Subsidiary means:

                           a. any entity of which more than fifty percent (50%) of the outstanding securities representing the
                              present right to vote for the election of such entity's directors or managers are owned by the Parent
                              Company, directly or indirectly, if such entity:

                                   i. was so owned on or prior to the inception date of this Policy; or

                                  ii. becomes so owned after the inception date of this Policy; and

                           b. any joint venture entity in which the Parent Company, or an entity described in a. above, has an
                              exact fifty percent (50%) ownership of the interests of such joint venture entity and where, pursuant to
                              a written joint venture agreement, the Parent Company or entity described in a. above solely
                              controls the management and operations of such joint venture entity.

                  12. Takeover means:

                           a. the acquisition by any person or entity of more than fifty percent (50%) of the outstanding securities
                              of the Parent Company representing the present right to vote for the election of directors; or

                           b. the merger or consolidation of the Parent Company into another entity such that the Parent
                              Company is not the surviving entity.


                All definitions shall apply equally to the singular and plural forms of the respective words.

           C. LIMITS OF LIABILITY, RETENTIONS AND DEDUCTIBLES

                   1. The Limits of Liability, Retentions and Deductibles for each Coverage Section are separate Limits of
                      Liability, Retentions and Deductibles pertaining only to the Coverage Section for which they are shown. The
                      application of a Retention or Deductible to Loss under one Coverage Section shall not reduce the Retention
                      or Deductible under any other Coverage Section, and no reduction in the Limit of Liability applicable to one
                      Coverage Section shall reduce the Limit of Liability under any other Coverage Section.

                   2. In the event that any Claim is covered, in whole or in part, under two or more Insuring Clauses or more than
                      one Coverage Section, the total applicable Retention or Deductible shall not exceed the single largest
                      applicable Retention or Deductible. The largest applicable Retention or Deductible shall apply only once to
                      such Claim.

           D. WARRANTY


                It is warranted that the particulars and statements contained in the Application are the basis of this Policy and
                are to be considered as incorporated into and constituting a part of this Policy and each Coverage Section.

                By acceptance of this Policy, the Insureds agree that:

                   1. the statements in the Application are their representations, that such representations shall be deemed
                      material to the acceptance of the risk or the hazard assumed by Insurer under this Policy, and that this
                      Policy and each Coverage Section are issued in reliance upon the truth of such representations; and

                   2. in the event the Application, including materials submitted or required to be submitted therewith ,contains
                      any misrepresentation or omission made with the intent to deceive, or contains any misrepresentation or
                      omission which materially affects either the acceptance of the risk or the hazard assumed by Insurer under
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                      this Policy, this Policy, including each and all Coverage Sections, shall be void ab initio with respect to any
                      Insureds who had knowledge of such misrepresentation or omission.

           E. CANCELLATION

                   1. By acceptance of this Policy, the Insureds hereby confer to the Parent Company the exclusive power and
                      authority to cancel this Policy on their behalf. The Parent Company may cancel this Policy in its entirety
                      or any of the applicable Coverage Sections individually by surrender thereof to the Insurer, or by mailing
                      written notice to the Insurer stating when thereafter such cancellation shall be effective. The mailing of such
                      notice shall be sufficient notice and the effective date of cancellation shall be the date the Insurer received
                      such notice or any later date specified in the notice, and such effective date shall become the end of the
                      Policy or applicable Coverage Section. Delivery of such written notice shall be equivalent to mailing.

                   2. This Policy may be cancelled by the Insurer only for nonpayment of premium, by mailing written notice to
                      the Parent Company stating when such cancellation shall be effective, such date to be not less than ten
                      (10) days from the date of the written notice. The mailing of such notice shall be sufficient notice and the
                      effective date of cancellation stated in the notice shall become the end of the Policy Period. Delivery of
                      such written notice by the Insurer shall be equivalent to mailing. If the foregoing notice period is in conflict
                      with any governing law or regulation, then the notice period shall be deemed to be the minimum notice
                      period permitted under the governing law or regulation.

                   3. If this Policy or any Coverage Section is cancelled, the Insurer shall retain the pro rata proportion of the
                      premium therefore. Payment or tender of any unearned premium by Insurer shall not be a condition
                      precedent to the effectiveness of cancellation.

           F. ESTATES, LEGAL REPRESENTATIVES, AND SPOUSES


                The estates, heirs, legal representatives, assigns, spouses and Domestic Partners of natural persons who are
                Insureds shall be considered Insureds under this Policy; provided, however, coverage is afforded to such estates,
                heirs, legal representatives, assigns, spouses and Domestic Partners only for a Claim arising solely out of their
                status as such and, in the case of a spouse or Domestic Partner, where the Claim seeks damages from marital
                community property, jointly held property or property transferred from the natural person who is an Insured to the
                spouse or Domestic Partner. No coverage is provided for any Wrongful Act of an estate, heir, legal
                representative, assign, spouse or Domestic Partner. All of the terms and conditions of this Policy including,
                without limitation, the Retentions and Deductibles applicable to Loss incurred by natural persons who are Insureds
                shall also apply to Loss incurred by such estates, heirs, legal representatives, assigns, spouses and Domestic
                Partners.

           G. AUTHORIZATION CLAUSE


                By acceptance of this Policy, the Parent Company agrees to act on behalf of all Insureds, and the Insureds
                agree that the Parent Company will act on their behalf, with respect to the giving of all notices to Insurer, the
                receiving of notices from Insurer, the agreement to and acceptance of endorsements, the payment of the premium
                and the receipt of any return premium.

           H. DISCOVERY PERIOD

                   1. If this Policy or any Coverage Section is cancelled or is not renewed by the Insurer, for reasons other than
                      non-payment of premium or if the Parent Company elects to cancel or not to renew this Policy or a
                      Coverage Section, then the Parent Company shall have the right, upon payment of an additional premium
                      calculated at that percentage shown in Item 5. of the Declarations of the total premium for this Policy, or
                      the total premium for the cancelled or not renewed Coverage Section, whichever is applicable, to purchase
                      an extension of the coverage granted by this Policy or the applicable cancelled or not renewed Coverage
                      Section with respect to any Claim first made during the period of time set forth in Item 5. of the Declarations
                      after the effective date of such cancellation or, in the event of a refusal to renew, after the Policy expiration
                      date, but only with respect to any Wrongful Act committed before such date. The Parent Company shall
                      have the right to elect only one of the Discovery Periods set forth in Item 5. of the Declarations.

                   2. As a condition precedent to the right to purchase the Discovery Period set forth in subsection H.1. above,
                      the total premium for the Policy must have been paid. Such right to purchase the Discovery Period shall
                      terminate unless written notice, together with full payment of the premium for the Discovery Period, is
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                       received by Insurer within thirty (30) days after the effective date of cancellation, or, in the event of a refusal
                       to renew, within thirty (30) days after the Policy expiration date. If such notice and premium payment is not
                       so given to Insurer, there shall be no right to purchase the Discovery Period.

                   3. In the event of the purchase of the Discovery Period, the entire premium therefore shall be deemed earned
                      at the commencement of the Discovery Period.

                   4. The exercise of the Discovery Period shall not in any way increase or reinstate the limit of Insurer's
                      liability under any Coverage Section.

            I. RUN-OFF COVERAGE


                In the event of a Takeover:

                   1. The Parent Company shall have the right, upon payment of an additional premium calculated at the
                      percentage of the total premium for this Policy set forth in Item 6. of the Declarations, to an extension of the
                      coverage granted by this Policy with respect to any Claim first made during the Run-Off Period, as set
                      forth in Item 6. of the Declarations, but only with respect to any Wrongful Act committed before the
                      effective date of the Takeover (herein defined as "Run-Off Coverage"); provided, however, such additional
                      premium shall be reduced by the amount of the unearned premium from the date of the Takeover or the
                      date of notice of the election of the Run-Off Coverage, whichever is later, through the expiration date set forth
                      in Item 2. of the Declarations.

                   2. The Parent Company shall have the right to elect only one of the periods designated in Item 6. of the
                      Declarations. The election must be made prior to the expiration of the Policy Period. The right to purchase
                      a Run-Off Period shall terminate on the expiration of the Policy Period.

                   3. If a Run-off Period is elected and purchased:

                           a. Section E. above, is deleted in its entirety and neither the Insureds nor the Insurer may cancel this
                              Policy or any Coverage Section thereof;

                           b. Section H. above, is deleted in its entirety; and

                           c. the maximum aggregate Limit of Liability of the Insurer for each Coverage Section purchased and set
                              forth on the Declarations shall be twice the otherwise applicable maximum aggregate Limit of Liability
                              set forth in Item 3. of the Declarations for such Coverage Section; provided, however, the maximum
                              aggregate Limit of Liability of the Insurer in connection with any one Claim shall be amount
                              originally shown as the maximum aggregate Limit of Liability for each Coverage Section purchased
                              and set forth on the Declaration.

           J. ALTERNATIVE DISPUTE RESOLUTION


                The Insureds and the Insurer shall submit any dispute or controversy arising out of or relating to this Policy or the
                breach, termination or invalidity thereof to the alternative dispute resolution ("ADR") process described in this
                subsection.

                Either an Insured or the Insurer may elect the type of ADR process discussed below; provided, however, that the
                Insured shall have the right to reject the choice by the Insurer of the type of ADR process at any time prior to its
                commencement, in which case the choice by the Insured of ADR process shall control.

                There shall be two choices of ADR process: (1) non-binding mediation administered by any mediation facility to
                which the Insurer and the Insured mutually agree, in which the Insured and the Insurer shall try in good faith to
                settle the dispute by mediation in accordance with the then-prevailing commercial mediation rules of the mediation
                facility; or (2) arbitration submitted to any arbitration facility to which the Insured and the Insurer mutually agree,
                in which the arbitration panel shall consist of three disinterested individuals. In either mediation or arbitration, the
                mediator or arbitrators shall have knowledge of the legal, corporate management, and insurance issues relevant to
                the matters in dispute. In the event of arbitration, the decision of the arbitrators shall be final and binding and
                provided to both parties, and the award of the arbitrators shall not include attorneys' fees or other costs. In the
                event of mediation, either party shall have the right to commence arbitration in accordance with this section;
                provided, however, that no such arbitration shall be commenced until at least sixty (60) days after the date the
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                mediation shall be deemed concluded or terminated. In all events, each party shall share equally the expenses of
                the ADR process.

                Either ADR process may be commenced in New York, New York or in the state indicated in Item 1. of the
                Declarations as the principal address of the Parent Company. The Parent Company shall act on behalf of each
                and every Insured in connection with any ADR process under this section.

           K. TERRITORY


                Coverage under this Policy shall extend to Wrongful Acts taking place or Claims made anywhere in the world.

           L. ASSISTANCE, COOPERATION AND SUBROGATION


                The Insureds agree to provide Insurer with such information, assistance and cooperation as Insurer reasonably
                may request, and they further agree that they shall not take any action which in any way increases Insurer's
                exposure under this Policy. In the event of any payments under this Policy, Insurer shall be subrogated to the
                extent of such payment to all of the Insureds' rights of recovery against any person or entity. The Insureds shall
                execute all papers required and shall do everything that may be necessary to secure and preserve such rights,
                including the execution of such documents as are necessary to enable Insurer effectively to bring suit or otherwise
                pursue subrogation in the name of the Insureds, and shall provide all other assistance and cooperation which
                Insurer may reasonably require.

          M. ACTION AGAINST INSURER, ALTERATION AND ASSIGNMENT


                Except as provided in Section J. above, Alternative Dispute Resolution, no action shall lie against Insurer unless,
                as a condition precedent thereto, there shall have been compliance with all of the terms of this Policy. No person
                or organization shall have any right under this Policy to join Insurer as a party to any action against the Insureds
                to determine their liability, nor shall Insurer be impleaded by the Insureds or their legal representative. No change
                in, modification of, or assignment of interest under this Policy shall be effective except when made by a written
                endorsement to this Policy which is signed by an authorized representative of the Insurer.

           N. ENTIRE AGREEMENT


                By acceptance of this Policy, the Insureds agree that this Policy embodies all agreements existing between
                them and Insurer or any of their agents relating to this insurance. Notice to any agent or knowledge possessed by
                any agent or other person acting on behalf of Insurer shall not effect a waiver or a change in any part of this Policy
                or estop Insurer from asserting any right under the terms of this Policy or otherwise, nor shall the terms be
                deemed waived or changed except by written endorsement or rider issued by Insurer to form part of this Policy.




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                                         A Stock Insurance Company, herein called the Insurer

                                  BUSINESS AND MANAGEMENT INDEMNITY POLICY

                       DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION
       In consideration of the payment of premium, in reliance on the Application and subject to the Declarations, and terms
       and conditions of this Policy, the Insurer and the Insureds agree as follows

           A. INSURING CLAUSES

                  1. The Insurer shall pay the Loss of the Directors and Officers for which the Directors and Officers are not
                     indemnified by the Company and which the Directors and Officers have become legally obligated to pay
                     by reason of a Claim first made against the Directors and Officers during the Policy Period or, if elected,
                     the Extended Period, and reported to the Insurer pursuant to Section E.1. herein, for any Wrongful Act
                     taking place prior to the end of the Policy Period.

                  2. The Insurer shall pay the Loss of the Company for which the Company has indemnified the Directors and
                     Officers and which the Directors and Officers have become legally obligated to pay by reason of a Claim
                     first made against the Directors and Officers during the Policy Period or, if elected, the Extended
                     Period, and reported to the Insurer pursuant to Section E.1. herein, for any Wrongful Act taking place
                     prior to the end of the Policy Period.

                  3. The Insurer shall pay the Loss of the Company which the Company becomes legally obligated to pay by
                     reason of a Claim first made against the Company during the Policy Period or, if applicable, the
                     Extended Period, and reported to the Insurer pursuant to Section E.1. herein, for any Wrongful Act
                     taking place prior to the end of the Policy Period.

           B. DEFINITIONS

                  1. Claim means:

                        a. a written demand against any Insured for monetary damages or non-monetary or injunctive relief;

                        b. a written demand by one or more of the securities holders of the Company upon the board of
                           directors or the management board of the Company to bring a civil proceeding against any of the
                           Directors and Officers on behalf of the Company;

                        c. a civil proceeding against any Insured seeking monetary damages or non-monetary or injunctive
                           relief, commenced by the service of a complaint or similar pleading;

                        d. a criminal proceeding against any Insured commenced by a return of an indictment or similar
                           document, or receipt or filing of a notice of charges;

                        e. an arbitration proceeding against any Insured seeking monetary damages or non-monetary or
                           injunctive relief; or

                         f. a civil, administrative or regulatory proceeding, or a formal governmental investigation against any
                            Insured commenced by the filing of a notice of charges, investigative order or similar document.

                  2. Continuity Date means the date set forth in Item 3. of the Declarations relating to this Coverage Section.

                  3. Costs, Charges and Expenses means:

                        a. reasonable and necessary legal costs, charges, fees and expenses incurred by any of the Insureds
                           in defending Claims and the premium for appeal, attachment or similar bonds arising out of covered
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                            judgments, but with no obligation to furnish such bonds and only for the amount of such judgment
                            that is up to the applicable Limit of Liability; and

                         b. reasonable and necessary legal costs, charges, fees and expenses incurred by any of the Insureds
                            in investigating a written demand, by one or more of the securities holders of the Company upon the
                            board of directors or the management board of the Company, to bring a civil proceeding against any
                            of the Directors and Officers on behalf of the Company.


                     Costs, Charges and Expenses do not include salaries, wages, fees, overhead or benefit expenses of or
                     associated with officers or employees of the Company.

                  4. Directors and Officers means any person who was, now is, or shall become:

                         a. a duly elected or appointed director, officer, or similar executive of the Company, or any member of
                            the management board of the Company;

                         b. a person who was, is or shall become a full-time or part-time employee of the Company; and

                         c. the functional equivalent of directors or officers of a Company incorporated or domiciled outside the
                            United States of America.

                  5. Insured means the Company and the Directors and Officers.

                  6. Interrelated Wrongful Acts means all Wrongful Acts that have as a common nexus any fact,
                     circumstance, situation, event, transaction, cause or series of facts, circumstances, situations, events,
                     transactions or causes.

                  7. Loss means damages, judgments, settlements, pre-judgment or post-judgment interest awarded by a court,
                     and Costs, Charges and Expenses incurred by Directors and Officers under Insuring Clauses 1. or 2. or
                     the Company under Insuring Clause 3. Loss does not include:

                         a. taxes, fines or penalties;

                         b. matters uninsurable under the laws pursuant to which this Policy is construed;

                         c. punitive or exemplary damages, or the multiple portion of any multiplied damage award, except to the
                            extent that such punitive or exemplary damages, or multiplied portion of any multiplied damage award
                            are insurable under the internal laws of any jurisdiction which most favors coverage for such damages
                            and which has a substantial relationship to the Insureds, Insurer, this Policy or the Claim giving
                            rise to such damages;

                         d. the cost of any remedial, preventative or other non-monetary relief, including without limitation any
                            costs associated with compliance with any such relief of any kind or nature imposed by any
                            judgment, settlement or governmental authority;

                         e. any amount for which the Insured is not financially liable or legally obligated to pay;

                         f. the costs to modify or adapt any building or property to be accessible or accommodating, or more
                            accessible or accommodating, to any disabled person; or

                         g. any amounts owed or paid to one or more securities holders of the Company under any written or
                            express contract or agreement.

                  8. Outside Entity means:

                         a. any non-profit company which is exempt from taxation under the Internal Revenue Code, as
                            amended, in which any of the Directors and Officers is a director, officer, trustee, governor,
                            executive director or similar position of such non-profit company; and

                         b. any other company specifically identified by endorsement to this Policy.

                  9. Wrongful Act means any actual or alleged error, omission, misleading statement, misstatement, neglect,
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                     breach of duty or act allegedly committed or attempted by:

                        a. any of the Directors and Officers, while acting in their capacity as such, or any matter claimed
                           against any Director and Officer solely by reason of his or her serving in such capacity;

                        b. any of the Directors and Officers, while acting in their capacity as a director, officer, trustee,
                           governor, executive director or similar position of any Outside Entity where such service is with the
                           knowledge and consent of the Company; and

                        c. the Company, but only with respect to Insuring Clause 3. of this Coverage Section.

           C. EXCLUSIONS

                  1. Exclusions Applicable to All Insuring Clauses


                     Insurer shall not be liable for Loss under this Coverage Section on account of any Claim:

                        a. for actual or alleged bodily injury, sickness, disease, death, false imprisonment, assault, battery,
                           mental anguish, emotional distress, invasion of privacy of any person, or damage to or destruction of
                           any tangible or intangible property including loss of use thereof, whether or not such property is
                           physically injured;

                        b. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                           consequence of, or in any way involving:

                                i. any Wrongful Act, fact, circumstance or situation which has been the subject of any written
                                   notice given under any other policy of which this Policy is a renewal or replacement or which
                                   it succeeds in time; or

                               ii. any other Wrongful Act, whenever occurring, which together with a Wrongful Act which has
                                   been the subject of such prior notice, would constitute Interrelated Wrongful Acts;

                        c. Alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                           consequence of, or in any way involving:

                                i. the actual, alleged or threatened discharge, dispersal, release, escape, seepage, migration or
                                   disposal of Pollutants; or

                               ii. any direction or request that any Insured test for, monitor, clean up, remove, contain, treat,
                                   detoxify or neutralize Pollutants, or any voluntary decision to do so;


                            provided, however, this exclusion shall not apply to any Claim brought directly, derivatively or
                            otherwise by one or more securities holders of the Company in their capacity as such.

                            For purposes of this exclusion, Pollutants means any substance exhibiting any hazardous
                            characteristics as defined by, or identified on, a list of hazardous substances issued by the United
                            States Environmental Protection Agency or any federal, state, county, municipal or local counterpart
                            thereof or any foreign equivalent. Such substances shall include, without limitation, solids, liquids,
                            gaseous, biological, bacterial or thermal irritants, contaminants or smoke, vapor, soot, fumes, acids,
                            alkalis, chemicals or waste materials (including materials to be reconditioned, recycled or reclaimed).
                            Pollutants shall also mean any other air emission or particulate, odor, waste water, oil or oil
                            products, infectious or medical waste, asbestos or asbestos products, noise, fungus (including mold
                            or mildew and any mycotoxins, spores, scents or byproducts produced or released by fungi, but
                            does not include any fungi intended by the Insured for consumption) and electric or magnetic or
                            electromagnetic field;

                        d. for any actual or alleged violation of the responsibilities, obligations or duties imposed by Employee
                           Retirement Income Security Act of 1974, as amended, or any rules or regulations promulgated
                           thereunder, or similar provisions of any federal, state or local statutory or common law;

                        e. brought or maintained by, on behalf of, in the right of, or at the direction of any Insured in any
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                      capacity, any Outside Entity or any person or entity that is an owner of or joint venture participant in
                      any Subsidiary in any respect and whether or not collusive, unless such Claim:

                           i. is brought derivatively by a securities holder of the Parent Company and is instigated and
                              continued totally independent of, and totally without the solicitation, assistance, active
                              participation of, or intervention of, any Insured;

                          ii. is brought or maintained by any Insured in the form of a cross-claim, third-party claim or other
                              proceeding for contribution or indemnity which is part of, and directly results from a Claim that
                              is covered by this Coverage Section;

                          iii. is brought or maintained by an employee of the Company who is not or was not a director or
                               officer of the Company;

                          iv. is brought or maintained by any former director or officer of the Company solely in their
                              capacity as a securities holder of the Company and where such Claim is solely based upon
                              and arising out of Wrongful Acts committed subsequent to the date such director or officer
                              ceased to be a director or officer of the Company and where such Claim is first made two (2)
                              years subsequent to the date such director or officer ceased to be a director or officer of the
                              Company; or

                           v. is brought or maintained by any bankruptcy trustee or bankruptcy appointed representative of
                              the Company;

                    f. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                       consequence of, or in any way involving:

                           i. any dishonest, deliberately fraudulent or criminal act of an Insured; provided, however this
                              exclusion f.i. shall not apply unless and until there is a final judgment against such Insured
                              as to such conduct; or

                          ii. the gaining of any profit, remuneration or financial advantage to which any Directors and
                              Officers were not legally entitled; provided, however this exclusion f.ii. shall not apply unless
                              and until there is a final judgment against such Directors and Officers as to such conduct.


                      When f.i. or ii. apply, the Insured shall reimburse the Insurer for any Costs, Charges or Expenses;

                   g. for the return by any of the Directors and Officers of any remuneration paid to them without the
                      previous approval of the appropriate governing body of the Company or Outside Entity, which
                      payment without such previous approval shall be held to be in violation of law;

                   h. against any of the Directors and Officers of any Subsidiary or against any Subsidiary alleging,
                      based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of, or
                      in any way involving any Wrongful Act actually or allegedly committed or attempted by a
                      Subsidiary or Directors and Officers thereof:

                           i. before the date such entity became a Subsidiary or after the date such entity ceased to be a
                              Subsidiary; or

                          ii. occurring while such entity was a Subsidiary which, together with a Wrongful Act occurring
                              before the date such entity became a Subsidiary, would constitute Interrelated Wrongful
                              Acts;

                    i. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                       consequence of, or in any way involving any Wrongful Act actually or allegedly committed
                       subsequent to a Takeover;

                    j. for a Wrongful Act actually or allegedly committed or attempted by any of the Directors and
                       Officers in his or her capacity as a director, officer, trustee, manager, member of the board of
                       managers or equivalent executive of a limited liability company or employee of, or independent
                       contractor for or in any other capacity or position with any entity other than the Company; provided,
                       however, that this exclusion shall not apply to Loss resulting from any such Claim to the extent that:
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                                i. such Claim is based on the service of any of the Directors and Officers as a director, officer,
                                   trustee, governor, executive director or similar position of any Outside Entity where such
                                   service is with the knowledge and consent of the Company; and

                               ii. such Outside Entity is not permitted or required by law to provide indemnification to such
                                   Directors and Officers; and

                               iii. such Loss is not covered by insurance provided by any of the Outside Entity's insurer(s);

                        k. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                           consequence of, or in any way involving:

                                i. any prior or pending litigation or administrative or regulatory proceeding, demand letter or
                                   formal or informal governmental investigation or inquiry filed or pending on or before the
                                   Continuity Date; or

                               ii. any fact, circumstance, situation, transaction or event underlying or alleged in such litigation
                                   or administrative or regulatory proceeding, demand letter or formal or informal governmental
                                   investigation or inquiry;

                         l. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                            consequence of, or in any way involving, any Wrongful Act, fact, circumstance or situation which
                            any of the Insureds had knowledge of prior to the Continuity Date where such Insureds had reason
                            to believe at the time that such known Wrongful Act could reasonably be expected to give rise to
                            such Claim;

                        m. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                           consequence of, or in any way involving any employment or employment-related matters brought by
                           or on behalf of or on the right of an applicant for employment with the Company, or any of the
                           Directors and Officers, including any voluntary, seasonal, temporary, leased or independently-
                           contracted employee of the Company;

                        n. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                           consequence of, or in any way involving:

                                i. any initial public offering of securities undertaken and consummated by the Company,
                                   including all activities in connection therewith;

                               ii. the actual or alleged violation of the Securities Act of 1933, the Securities Exchange Act of
                                   1934, any rules or regulations of the Securities Exchange Commission adopted thereunder,
                                   any federal, state or provincial statute or common law regulating securities similar to the
                                   foregoing, including any amendments thereto, any rules or regulations adopted pursuant
                                   thereto in connection with any Wrongful Act actually or allegedly committed subsequent to
                                   the consummation of an initial public offering of securities of the Company; or

                               iii. any equity or debt offering, solicitation, sale, distribution or issuance of securities of the
                                    Company in excess of $50 million where such issuance takes place during the Policy
                                    Period and is exempt from the registration requirements of the Securities and Exchange
                                    Commission pursuant to Section 3.b. of the Securities Act of 1933 and rules and regulations
                                    promulgated thereunder, or any activities or transactions dealing in any way with such
                                    issuance of securities of the Company; provided, however, this exclusion shall not apply if the
                                    Insurer agrees in writing to extend coverage for Wrongful Acts in connection with such
                                    issuance of securities and the Insureds have paid the premium required by the Insurer for
                                    such coverage extension; or

                        o. for that portion of Loss which is covered under any other Coverage Section of this Policy.

                  2. Exclusions Applicable Only to Insuring Clause A.3.


                     Insurer shall not be liable for Loss on account of any Claim:
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                            a. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                               consequence of, or in any way involving the actual or alleged breach of any contract or agreement;
                               except and to the extent the Company would have been liable in the absence of such contract or
                               agreement; or

                            b. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                               consequence of, or in any way involving:

                                    i. any actual or alleged infringement, misappropriation, or violation of copyright, patent, service
                                       marks, trademarks, trade secrets, title or other proprietary or licensing rights or intellectual
                                       property of any products, technologies or services; or

                                   ii. any goods or products manufactured, produced, processed, packaged, sold, marketed,
                                       distributed, advertised or developed by the Company.

                        Provided, however, the exclusions in 2.a. and 2.b. above shall not apply to any such Claim brought or
                        maintained, directly or indirectly, by one or more securities holders of the Company in their capacity as
                        such.



                  No Wrongful Act of one or more Insureds shall be imputed to any other Insureds for the purpose of determining
                  the applicability of any of the above exclusions.

           D. LIMIT OF LIABILITY AND RETENTIONS

                     1. The liability of the Insurer shall apply only to that part of Loss which is excess of the Retention amounts
                        applicable to this Coverage Section, as shown in Item 3. of the Declarations. Such Retentions shall be
                        borne uninsured by the Insureds and at their own risk. If different parts of a single Claim are subject to
                        different applicable Retentions under this Coverage Section, the applicable Retentions will be applied
                        separately to each part of such Loss, but the sum of such Retentions shall not exceed the largest
                        applicable Retention.

                     2. As shown in Item 3. of the Declarations relating to this Coverage Section, the following Limits of Liability of
                        the Insurer shall apply:

                            a. The amount set forth in Item 3.1.a. relating to this Coverage Section shall be the aggregate limit of
                               liability for the payment of Loss under all Insuring Clauses for this Coverage Section, subject to
                               additional payments for Loss under Insuring Clause A.1. as further described in subsection b.
                               immediately below.

                            b. The amount set forth in Item 3.1.b. relating to this Coverage Section shall be an aggregate limit of
                               liability for the payment of Loss under Insuring Clause A.1. in addition to the limit described in
                               subsection a. immediately above; provided, all payments for Loss under the additional limits
                               described in this subsection b. shall be excess of the limit described in subsection a. above, and
                               excess of any other available insurance that is specifically excess to this Policy. Such excess
                               insurance must be completely and fully exhausted through the payment of loss, including but not
                               limited to defense costs thereunder, before the Insurer shall have any obligations to make any
                               payments under the additional limits described in this subsection b.

                            c. The amount set forth in Item 3.1.c. of the Declarations relating to this Coverage Section shall be the
                               maximum aggregate limit of liability for the payment of Loss under all Insuring Clauses for this
                               Coverage Section. The Limit of Liability set forth in Items 3.1.a. and 3.1.b. relating to this Coverage
                               Section shall be a part of and not in addition to the maximum aggregate limit of liability set forth in
                               Item 3.1.c. for this Coverage Section.

                     3. All Claims arising out of the same Wrongful Act and all Interrelated Wrongful Acts shall be deemed to
                        constitute a single Claim and shall be deemed to have been made at the earliest of the following times,
                        regardless of whether such date is before or during the Policy Period:

                            a. the time at which the earliest Claim involving the same Wrongful Act or Interrelated Wrongful Act
                               is first made; or

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                         b. the time at which the Claim involving the same Wrongful Act or Interrelated Wrongful Acts shall
                            be deemed to have been made pursuant to Section E.2. below.

                  4. The Retention applicable to Insuring Clause 2. shall apply to Loss resulting from any Claim if
                     indemnification for the Claim by the Company is required or permitted by applicable law, to the fullest
                     extent so required or permitted, regardless of whether or not such actual indemnification by the Company is
                     made, except and to the extent such indemnification is not made by the Company solely by reason of the
                     Company's financial insolvency.

                  5. Payments of Loss by Insurer shall reduce the Limit(s) of Liability under this Coverage Section. Costs,
                     Charges and Expenses are part of, and not in addition to, the Limits of Liability and payment of Costs,
                     Charges and Expenses reduce the Limits of Liability. If such Limit(s) of Liability are exhausted by payment
                     of Loss, the obligations of the Insurer under this Coverage Section are completely fulfilled and extinguished.

           E. NOTIFICATION

                  1. The Insureds shall, as a condition precedent to their rights to payment under this Coverage Section only,
                     give Insurer written notice of any Claim as soon as practicable, but in no event later than sixty (60) days
                     after the end of the Policy Period. If any Claim is first made against the Insureds during the Extended
                     Period, if purchased, written notice to Insurer must be given as soon as practicable, but in no event later
                     than sixty (60) days after the end of the Extended Period.

                  2. If, during the Policy Period or the Discovery Period, if purchased, any of the Insureds first becomes
                     aware of a specific Wrongful Act which may reasonably give rise to a future Claim covered under this
                     Policy, and if the Insureds, during the Policy Period or the Discovery Period, if purchased, give written
                     notice to Insurer as soon as practicable of:

                         a. a description of the Wrongful Act allegations anticipated;

                         b. the identity of the potential claimants;

                         c. the circumstances by which the Insureds first became aware of the Wrongful Act;

                         d. the identity of the Insureds allegedly involved;

                         e. the consequences which have resulted or may result; and

                         f. the nature of the potential monetary damages and non-monetary relief;


                     then any Claim made subsequently arising out of such Wrongful Act shall be deemed for the purposes of
                     this Coverage Section to have been made at the time such notice was received by the Insurer. No coverage
                     is provided for fees, expenses and other costs incurred prior to the time such Wrongful Act results in a
                     Claim.

                  3. Notice to Insurer shall be given to the address shown under Item 8. of the Declarations for this Policy.

           F. SETTLEMENT AND DEFENSE

                  1. It shall be the duty of the Insurer and not the duty of the Insureds to defend any Claim. Such duty shall
                     exist even if any of the allegations are groundless, false or fraudulent. The Insurer's duty to defend any
                     Claim shall cease when the Limits of Liability have been exhausted by the payment of Loss including
                     Costs, Charges and Expenses.

                  2. The Insurer may make any investigation it deems necessary, and shall have the right to settle any Claim;
                     provided, however, no settlement shall be made without the consent of the Parent Company, such consent
                     not to be unreasonably withheld.

                  3. The Insureds agree not to settle or offer to settle any Claim, incur any Costs, Charges and Expenses or
                     otherwise assume any contractual obligation or admit any liability with respect to any Claim without the
                     prior written consent of the Insurer, such consent not to be unreasonably withheld. The Insurer shall not be
                     liable for any settlement, Costs, Charges and Expenses, assumed obligation or admission to which it has
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                         not consented. The Insureds shall promptly send to the Insurer all settlement demands or offers received
                         by any Insured from the claimant(s).

                     4. The Insureds agree to provide the Insurer with all information, assistance and cooperation which the
                        Insurer reasonably requests and agree that, in the event of a Claim, the Insureds will do nothing that shall
                        prejudice the position of the Insurer or its potential or actual rights of recovery.

          G. OTHER INSURANCE


                  If any Loss covered under this Coverage Section is covered under any other valid and collectible insurance, then
                  this Policy shall cover the Loss, subject to its terms and conditions, only to the extent that the amount of the Loss
                  is in excess of the amount of such other insurance whether such other insurance is stated to be primary,
                  contributory, excess, contingent or otherwise, unless such other insurance is written only as specific excess
                  insurance over the Limit of Liability for this Coverage Section.

           H. PAYMENT PRIORITY

                     1. If the amount of any Loss which is otherwise due and owing by the Insurer exceeds the then remaining
                        Limit of Liability applicable to the Loss, the Insurer shall pay the Loss, subject to such Limit of Liability, in
                        the following priority:

                            a. First, the Insurer shall pay any Loss covered under Insuring Clause A.1. in excess of any applicable
                               Retention shown in Item 3. of the Declarations; and

                            b. Second, only if and to the extent the payment under subsection 1. above does not exhaust the
                               applicable Limit of Liability, the Insurer shall pay any Loss in excess of the Retention shown in Item
                               3. of the Declarations covered under any other applicable Insuring Clause.

                            c. Subject to the foregoing subsection, the Insurer shall, upon receipt of a written request from the
                               Chief Executive Officer of the Parent Company, delay any payment of Loss otherwise due and
                               owing to or on behalf of the Company until such time as the Chief Executive Officer of the Parent
                               Company designates, provided the liability of the Insurer with respect to any such delayed Loss
                               payment shall not be increased, and shall not include any interest, on account of such delay.




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                                                                                                     ENDORSEMENT
                                                                                                     NO. 1
                 ATTACHED TO
                                   ENDORSEMENT
                     AND
                                   EFFECTIVE DATE
             FORMING A PART                                               NAMED INSURED                           AGENT NO.
                                 (12:01 A.M. STANDARD
                      OF
                                        TIME)
                 POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                  EKI3295685          5/6/2019                                                                       29406
                                                                                 P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                        ADDITIONAL NAMED INSUREDS WITH CONTINUITY DATE

       Item 1., Parent Company, of the Declarations page is amended to include the following:

       North Florida Central Services, LLC

       With respect to the coverage solely extended by this endorsement, the Continuity Date set forth in Item 3. of the
       Declarations for the Directors and Officers and Company Coverage Section is amended to read as follows:

           3. Continuity Date: 01/01/2013

       All other terms and conditions of this Policy remain unchanged.




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                                                                                                     ENDORSEMENT
                                                                                                     NO. 2
                 ATTACHED TO
                                   ENDORSEMENT
                     AND
                                   EFFECTIVE DATE
                FORMING A PART                                            NAMED INSURED                           AGENT NO.
                                 (12:01 A.M. STANDARD
                     OF
                                        TIME)
                POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                 EKI3295685           5/6/2019                                                                       29406
                                                                                 P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                        ADDITIONAL NAMED INSUREDS WITH CONTINUITY DATE

       Item 1., Parent Company, of the Declarations page is amended to include the following:

       North Florida MSO, LLC

       With respect to the coverage solely extended by this endorsement, the Continuity Date set forth in Item 3. of the
       Declarations for the Directors and Officers and Company Coverage Section is amended to read as follows:

           3. Continuity Date: 04/01/2014

       All other terms and conditions of this Policy remain unchanged.




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                                                                                                     ENDORSEMENT
                                                                                                     NO. 3
              ATTACHED TO
                                   ENDORSEMENT
                     AND
                                  EFFECTIVE DATE
             FORMING A PART                                               NAMED INSURED                          AGENT NO.
                                (12:01 A.M. STANDARD
                      OF
                                       TIME)
             POLICY NUMBER

                                                       North Florida Obstetrical & Gynecological Associates
                  EKI3295685         5/6/2019                                                                       29406
                                                                                P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                        ALLOCATION PROVISION

                                     This endorsement modifies insurance provided under the following:

                                                   GENERAL TERMS AND CONDITIONS



       The following Section O., ALLOCATION, is added to the General Terms and Conditions Section.


          O. ALLOCATION


                    1. In the event the Insurer has the duty to defend a Claim under any Coverage Section in which both Loss
                       that is covered by the applicable Coverage Section and loss which is not covered by the applicable Coverage
                       Section is incurred, either because such Claim includes both covered and uncovered matters or because
                       such Claim is made against both covered and uncovered parties, then:


                           a. this Policy shall pay one hundred percent (100%) of Costs, Charges and Expenses incurred by
                              such Insured on account of such Claim; and


                           b. there shall be a fair and equitable allocation of any remaining loss incurred by such Insured on
                              account of such Claim between covered Loss and uncovered loss based upon the relative legal and
                              financial exposures and the relative benefits obtained.


                    2. In the event the Insured has the duty to defend a Claim under any Coverage Section in which both Loss
                       that is covered by the applicable Coverage Section and loss which is not covered by the applicable Coverage
                       Section is incurred, either because such Claim includes both covered and uncovered matters or because
                       such Claim is made against both covered and uncovered parties, then the Insured and the Insurer shall
                       use their best efforts to determine a fair and proper allocation as between such insured and uninsured loss,
                       taking into account the relative legal and financial exposures and the relative benefits obtained.




       All other terms and conditions of this Policy remain unchanged.




EKI-782 (01/09)                                                                                               6/13/2019 — Page 1 of 1
                                                                                                                 NFOBGYN0021
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                                                                                                         ENDORSEMENT
                                                                                                         NO. 4
              ATTACHED TO
                                  ENDORSEMENT
                  AND
                                 EFFECTIVE DATE
            FORMING A PART                                                 NAMED INSURED                             AGENT NO.
                               (12:01 A.M. STANDARD
                  OF
                                      TIME)
             POLICY NUMBER

                                                      North Florida Obstetrical & Gynecological Associates
              EKI3295685            5/6/2019                                                                           29406
                                                                               P.A.

                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                      AMEND CONDUCT EXCLUSION

                                    This endorsement modifies insurance provided under the following:

                                 DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION



       Section C., EXCLUSIONS, subsection 1., paragraph f. is deleted in its entirety and replaced by the following:


                         f. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in conse-
                            quence of, or in any way involving:

                                 i. any dishonest, deliberately fraudulent or criminal act of an Insured; provided, however this
                                    exclusion f.i. shall not apply unless and until there is a final judgment against such Insured
                                    as to such conduct (including the exhaustion of all appeals, petitions and rehearings in such
                                    Claim); or


                                ii. the gaining of any profit, remuneration or financial advantage to which any Directors and
                                    Officers were not legally entitled; provided, however this exclusion f.ii. shall not apply unless
                                    and until there is a final judgment against such Directors and Officers as to such conduct
                                    (including the exhaustion of all appeals, petitions and rehearings in such Claim).


                             When f.i. or f.ii. apply, the Insured shall reimburse the Insurer for any Costs, Charges or
                             Expenses;




       All other terms and conditions of this Policy remain unchanged.




EKI-1133(10/12)                                                                                                  6/13/2019 — Page 1 of 1
                                                                                                                    NFOBGYN0022
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                                                                                                        ENDORSEMENT
                                                                                                        NO. 5
              ATTACHED TO
                                  ENDORSEMENT
                     AND
                                 EFFECTIVE DATE
             FORMING A PART                                                NAMED INSURED                            AGENT NO.
                               (12:01 A.M. STANDARD
                      OF
                                       TIME)
             POLICY NUMBER

                                                      North Florida Obstetrical & Gynecological Associates
                  EKI3295685         5/6/2019                                                                         29406
                                                                               P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                AMEND DISCOVERY ELECTION-90 DAYS

                                    This endorsement modifies insurance provided under the following:

                                                  GENERAL TERMS AND CONDITIONS

       Section H., DISCOVERY PERIOD, subsection 2., is replaced by:

           2. As a condition precedent to the right to purchase the Discovery Period set forth in subsection H.1. above, the
              total premium for the Policy must have been paid. Such right to purchase the Discovery Period shall terminate
              unless written notice, together with full payment of the premium for the Discovery Period, is received by Insurer
              within ninety (90) days after the effective date of cancellation, or, in the event of a refusal to renew, within ninety
              (90) days after the Policy expiration date. If such notice and premium payment is not so given to Insurer, there
              shall be no right to purchase the Discovery Period.

       All other terms and conditions of this Policy remain unchanged.




EKI-787 (01/09)                                                                                                 6/13/2019 — Page 1 of 1
                                                                                                                   NFOBGYN0023
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                                                                                                         ENDORSEMENT
                                                                                                         NO. 6
              ATTACHED TO
                                    ENDORSEMENT
                     AND
                                   EFFECTIVE DATE
             FORMING A PART                                                 NAMED INSURED                            AGENT NO.
                                (12:01 A.M. STANDARD
                      OF
                                        TIME)
             POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                  EKI3295685          5/6/2019                                                                          29406
                                                                                 P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                               AMEND INSURED V. INSURED EXCLUSION (DILUTION CLAIMS EXCEPTION)

        In consideration of the premium paid, it is agreed that this endorsement modifies insurance provided under the following:

                                   DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION




           1. Section C., EXCLUSIONS, paragraph 1.e.iv. is deleted in its entirety and replaced with the following:

                                  iv. is brought or maintained by any former Director or Officer of the Company solely in their
                                      capacity as a securities holder of the Company and where such Claim is solely based upon
                                      and arising out of:

                                         a. Wrongful Acts committed subsequent to the date such Director or Officer ceased to
                                            be a Director or Officer of the Company and where such Claim is first made two (2)
                                            years subsequent to the date such Director or Officer ceased to be a Director or
                                            Officer of the Company; or


                                         b. any actual or alleged unfair dilution of such securities holder s securities interest, but
                                            only if such Claim is first made within two (2) years after the date such Director or
                                            Officer ceased to be a Director or Officer of the Company and such Claim is made
                                            in connection with the sale of a majority of the assets of the Company, the merger of
                                            the Company with or into another entity, or the initial public offering of the securities of
                                            the Company ("Dilution Claims"); or


           2. The Directors and Officers and Company Coverage Section in Item 3. of the Declarations is amended to add the
              following:

                    4. Sublimit of Liability for Dilution Claims:

                           a. $250,000 aggregate for all Loss, subject to b. and c. immediately below,


                           b. $0 additional aggregate for all Costs, Charges and Expenses, subject to c. immediately below,


                           c. $250,000 maximum aggregate for Loss arising from Dilution Claims.


                       This Sublimit of Liability shall be a part of and not in addition to the maximum aggregate Limit of Liability set
                       forth in Item 3.1.c. of the Declarations for this Coverage Section.

EKI-1606 (4-15)                                                                                                  6/13/2019 — Page 1 of 2
                                                                                                                    NFOBGYN0024
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       All other terms and conditions of this Policy remain unchanged.




EKI-1606 (4-15)                                                               6/13/2019 — Page 2 of 2
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                                                                                                     ENDORSEMENT
                                                                                                     NO. 7
                 ATTACHED TO
                                    ENDORSEMENT
                     AND
                                   EFFECTIVE DATE
                FORMING A PART                                             NAMED INSURED                          AGENT NO.
                                 (12:01 A.M. STANDARD
                     OF
                                        TIME)
                POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                 EKI3295685           5/6/2019                                                                       29406
                                                                                 P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                    AMEND NOTICE OF CIRCUMSTANCES

                                      This endorsement modifies insurance provided under the following:

                                   DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION

       Section E. NOTIFICATION, subsection 2. is replaced by:

           2. If during the Policy Period or the Discovery Period, if purchased, any of the Insureds first become aware of
              specific facts or circumstances which may reasonably give rise to a future Claim covered under this Policy, and if
              the Insureds, during the Policy Period or the Discovery Period, if purchased, give written notice to Insurer as
              soon as practicable of:

                    a. a description of the facts, circumstances, or allegations anticipated;

                    b. the identity of potential claimants;

                    c. the circumstances by which the Insureds first became aware of the facts or circumstances;

                    d. the identity of the Insureds allegedly involved;

                    e. the consequences which have resulted or may result; and

                     f. the nature of the potential monetary damages and non-monetary relief;

                 then any Claim made subsequently arising out of such facts or circumstances shall be deemed for the purposes of
                 this Coverage Section to have been made at the time such notices was received by the Insurer. No coverage is
                 provided for fees, expenses and other costs incurred prior to the time such facts or circumstances results in a
                 Claim.


       All other terms and conditions of this Policy remain unchanged.




EKI-6 (04/08)                                                                                                  6/13/2019 — Page 1 of 1
                                                                                                                  NFOBGYN0026
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                                                                                                     ENDORSEMENT
                                                                                                     NO. 8
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                                   ENDORSEMENT
                     AND
                                   EFFECTIVE DATE
                FORMING A PART                                            NAMED INSURED                           AGENT NO.
                                 (12:01 A.M. STANDARD
                     OF
                                        TIME)
                POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                 EKI3295685           5/6/2019                                                                       29406
                                                                                 P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                    AMEND NOTICE PROVISION - D&O

                                      This endorsement modifies insurance provided under the following:

                                   DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION

       The following is added to Section E. NOTIFICATION, subsection 1.:

                 A Claim shall be deemed to have been first made against the Insureds on the date an Insured who is an
                 executive officer, director or general counsel becomes aware of such Claim.

       All other terms and conditions of this Policy remain unchanged.




EKI-8 (04/08)                                                                                                  6/13/2019 — Page 1 of 1
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                                                                                                   ENDORSEMENT
                                                                                                   NO. 9
              ATTACHED TO
                                 ENDORSEMENT
                     AND
                                 EFFECTIVE DATE
             FORMING A PART                                              NAMED INSURED                          AGENT NO.
                               (12:01 A.M. STANDARD
                      OF
                                      TIME)
             POLICY NUMBER

                                                      North Florida Obstetrical & Gynecological Associates
                  EKI3295685        5/6/2019                                                                       29406
                                                                               P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                         AMEND OTHER INSURANCE TO BE PRIMARY - D&O

                                    This endorsement modifies insurance provided under the following:

                                 DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION

       Section G., OTHER INSURANCE, is replaced by:

          G. OTHER INSURANCE

              For any Claim, if any Loss covered under this Coverage Section is covered under any other valid and collectable
              insurance, then this Policy shall be primary insurance, unless expressly written to be excess over other applicable
              insurance.

       All other terms and conditions of this Policy remain unchanged.




EKI-199 (04/08)                                                                                              6/13/2019 — Page 1 of 1
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                                                                                                        ENDORSEMENT
                                                                                                        NO. 10
                 ATTACHED TO
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                     AND
                                   EFFECTIVE DATE
             FORMING A PART                                                NAMED INSURED                            AGENT NO.
                                 (12:01 A.M. STANDARD
                      OF
                                        TIME)
                 POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                  EKI3295685          5/6/2019                                                                         29406
                                                                                 P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                 AMEND OUTSIDE SERVICES EXCLUSION

                                      This endorsement modifies insurance provided under the following:

                                   DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION

       Section C., EXCLUSIONS, subsection 1., paragraph j., subparagraph ii. is replaced by:

           ii. such Outside Entity is not permitted or required by law to provide indemnification to such Directors and Officers,
               or is unable to indemnify such Directors and Officers as a result of Financial Impairment; and

       For the purposes of this endorsement Financial Impairment means the status of the Outside Entity resulting from (1)
       the appointment by any state or federal official, agency or court of any receiver, conservator, liquidator, trustee,
       rehabilitator or similar official to take control of, supervise, manage or liquidate the Outside Entity, or (2) in the event a
       bankruptcy proceeding shall be instituted by or against the Outside Entity, the Outside Entity becoming a debtor-in-
       possession.

       All other terms and conditions of this Policy remain unchanged.




EKI-14 (01/09)                                                                                                   6/13/2019 — Page 1 of 1
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                                                                                                           ENDORSEMENT
                                                                                                           NO. 11
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                     AND
                                    EFFECTIVE DATE
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                                  (12:01 A.M. STANDARD
                      OF
                                         TIME)
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                                                         North Florida Obstetrical & Gynecological Associates
               EKI3295685               5/6/2019                                                                         29406
                                                                                  P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                            AMEND POLLUTION EXCLUSION - SIDE A - FLORIDA

                                       This endorsement modifies insurance provided under the following:

                                    DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION



       It is agreed that Section C., EXCLUSIONS, subsection 1.c., is deleted in its entirety and replaced by the following:


                     c. Alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
                        or in any way involving:


                             i. the actual, alleged or threatened discharge, dispersal, release, escape, seepage, migration or
                                disposal of Pollutants; or


                            ii. any direction or request that any Insured test for, monitor, clean up, remove, contain, treat, detoxify
                                or neutralize Pollutants, or any voluntary decision to do so;


                        provided, however, this exclusion shall not apply to:

                               Loss of the Directors and Officers for which the Directors and Officers are not indemnified by the
                               Company; or

                               any Claim brought directly, derivatively or otherwise by one or more securities holders of the
                               Company in their capacity as such.



       For purposes of this exclusion, Pollutants mean any solid, liquid, gaseous or thermal irritant or contaminant, including
       smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned
       or reclaimed.


       All other terms and conditions of this Policy remain unchanged.




EKI-846-FL (11/09)                                                                                                 6/13/2019 — Page 1 of 1
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                                                                                                         ENDORSEMENT
                                                                                                         NO. 12
              ATTACHED TO
                                    ENDORSEMENT
                    AND
                                   EFFECTIVE DATE
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                                 (12:01 A.M. STANDARD
                     OF
                                        TIME)
             POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
               EKI3295685             5/6/2019                                                                          29406
                                                                                 P.A.

                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                          AMEND REPRESENTATIONS PROVISION NON-RESCINDABLE COVERAGE - FLORIDA

                                      This endorsement modifies insurance provided under the following:

                                                    GENERAL TERMS AND CONDITIONS

       Section D., REPRESENTATIONS, subsection 2. is replaced by:

           2. In the event the Application, including materials submitted or required to be submitted therewith, contains any
              misrepresentation or omission made with the intent to deceive, or contains any misrepresentation or omission
              which materially affects either the acceptance of the risk or the hazard assumed by the Insurer under this Policy,
              this Policy, including each and all Coverage Sections, may not afford coverage to the following Insureds for any
              Claim alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of, or
              in any way involving, any untruthful or inaccurate statements, representations or information:

                    a. any Insured who is a natural person and who knew the facts misrepresented or the omissions, whether or
                       not such individual knew of the Application, such materials, or this Policy;

                    b. any Company or Sponsor Company to the extent it indemnifies any Insured referred to in subsection a.
                       above; and

                    c. any Company, Sponsor Company, Plan, Employee Benefit Plan, or any other entity that is an
                       Insured, if any past or present chief executive officer, chief financial officer, general counsel, risk manager
                       or human resources director (or equivalent positions) of the Parent Company knew the facts
                       misrepresented or the omissions, whether or not such individual knew of the Application, such materials,
                       or this Policy.

              With respect to any statement, representation or information contained in the Application, or in the materials
              submitted or required to be submitted therewith, and solely with respect to the above exclusion, no knowledge
              possessed by any Insured who is a natural person shall be imputed to any other Insured who is a natural person.

       The following condition is added:

              NON-RESCINDABLE

              The Insurer shall not be entitled under any circumstances to rescind any Coverage Section of the Policy with
              respect to any Insured. Nothing contained in this section shall limit or waive any other rights or remedies available
              to the Insurer.

       The title and any headings in this endorsement are solely for convenience and form no part of the terms and conditions of
       coverage.

       All other terms and conditions of this Policy remain unchanged.




EKI-16-FL (02/09)                                                                                                 6/13/2019 — Page 1 of 1
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                                                                                                     ENDORSEMENT
                                                                                                     NO. 13
              ATTACHED TO
                                ENDORSEMENT
                   AND
                                EFFECTIVE DATE
             FORMING A PART                                              NAMED INSURED                         AGENT NO.
                              (12:01 A.M. STANDARD
                   OF
                                     TIME)
             POLICY NUMBER

                                                     North Florida Obstetrical & Gynecological Associates
               EKI3295685          5/6/2019                                                                       29406
                                                                              P.A.

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                           AMEND RUN-OFF

                                   This endorsement modifies insurance provided under the following:

                                                 GENERAL TERMS AND CONDTIONS

       It is agreed that Section I., RUN-OFF COVERAGE, Subsection 3.c. is deleted in its entirety.




       All other terms and conditions of this Policy remain unchanged.




EKI-1073 (01/12)                                                                                            6/13/2019 — Page 1 of 1
                                                                                                               NFOBGYN0032
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                                                                                                     ENDORSEMENT
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                     AND
                                 EFFECTIVE DATE
             FORMING A PART                                              NAMED INSURED                           AGENT NO.
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                      OF
                                      TIME)
             POLICY NUMBER

                                                      North Florida Obstetrical & Gynecological Associates
                  EKI3295685        5/6/2019                                                                       29406
                                                                               P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                      AMEND SUBROGATION PROVISION - FINAL JUDGMENT

                                    This endorsement modifies insurance provided under the following:

                                                  GENERAL TERMS AND CONDITIONS

       Section L., ASSISTANCE, COOPERATION AND SUBROGATION, is deleted in its entirety and replaced by the following:

           L. ASSISTANCE, COOPERATION AND SUBROGATION

              The Insureds agree to provide Insurer with such information, assistance and cooperation as Insurer reasonably
              may request, and they further agree that they shall not take any action which in any way increases Insurer's
              exposure under this Policy. In the event of any payments under this Policy, Insurer shall be subrogated to the
              extent of such payment to all of the Insureds' rights of recovery against any person or entity. The Insureds shall
              execute all papers required and shall do everything that may be necessary to secure and preserve such rights,
              including the execution of such documents as are necessary to enable Insurer effectively to bring suit or otherwise
              pursue subrogation in the name of the Insureds, and shall provide all other assistance and cooperation which
              Insurer may reasonably require. In no event, however, shall the Insurer exercise its right of subrogation against an
              Insured under this Policy unless such Insured has been convicted of a deliberate criminal act; or has committed
              a deliberate fraudulent act, if a final judgment establishes that such deliberate fraudulent act was committed; or has
              obtained any profit or advantage to which a final judgment establishes the Insured was not legally entitled.

       All other terms and conditions of this Policy remain unchanged.




EKI-784 (01/09)                                                                                              6/13/2019 — Page 1 of 1
                                                                                                                NFOBGYN0033
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                                                                                                     ENDORSEMENT
                                                                                                     NO. 15
              ATTACHED TO
                                   ENDORSEMENT
                     AND
                                  EFFECTIVE DATE
             FORMING A PART                                              NAMED INSURED                           AGENT NO.
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                                                       North Florida Obstetrical & Gynecological Associates
                  EKI3295685         5/6/2019                                                                       29406
                                                                                P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                     AMENDED DEFINITION OF DIRECTORS & OFFICERS - LEASED / CONTRACTED EMPLOYEES

                                     This endorsement modifies insurance provided under the following:

                                  DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION

       The following is added to Section B. DEFINITIONS, subsection 4.:

              Directors and/or Officers means any person who was, now is, or shall become:

                       any natural person who is a leased employee or is contracted to perform work for the Company, or is an
                       independent contractor for the Company, but only to the extent such individual performs work or services for
                       or on behalf of the Company.

       All other terms and conditions of this Policy remain unchanged.




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                                                                                                     ENDORSEMENT
                                                                                                     NO. 16
                 ATTACHED TO
                                   ENDORSEMENT
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                                   EFFECTIVE DATE
             FORMING A PART                                               NAMED INSURED                           AGENT NO.
                                 (12:01 A.M. STANDARD
                      OF
                                        TIME)
                 POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                  EKI3295685          5/6/2019                                                                       29406
                                                                                 P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                           AMENDED INSURED VERSUS INSURED EXCLUSION

                                      This endorsement modifies insurance provided under the following:

                                   DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION

       Section C., EXCLUSIONS, subsection 1., paragraph e., subparagraph iii. is replaced by:

           iii. is brought or maintained by an employee of the Company who is not or was not a director or officer of the
                Company, including any such Claim brought or maintained under the Federal False Claims Act or any similar
                federal, state, local or foreign "whistleblower" law or "whistle-blower" provision of any law.

       All other terms and conditions of this Policy remain unchanged.




EKI-17 (03/10)                                                                                                 6/13/2019 — Page 1 of 1
                                                                                                                  NFOBGYN0035
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                                                                                                   ENDORSEMENT
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              ATTACHED TO
                                 ENDORSEMENT
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                                 EFFECTIVE DATE
             FORMING A PART                                              NAMED INSURED                          AGENT NO.
                               (12:01 A.M. STANDARD
                      OF
                                      TIME)
             POLICY NUMBER

                                                      North Florida Obstetrical & Gynecological Associates
                  EKI3295685        5/6/2019                                                                       29406
                                                                               P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                           AMENDED INSURED VERSUS INSURED EXCLUSION - FOREIGN JURISDICTION

                                    This endorsement modifies insurance provided under the following:

                                 DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION



       Section C., EXCLUSIONS, subsection 1. is amended by adding the following to paragraph e.:


              is brought or maintained in a jurisdiction outside the United States of America, Canada or Australia by any Insured
              of the Company solely where such Company is domiciled or chartered in such foreign jurisdiction;




       All other terms and conditions of this Policy remain unchanged.




EKI-845 (05/09)                                                                                              6/13/2019 — Page 1 of 1
                                                                                                                NFOBGYN0036
        Case 3:20-cv-00479-TJC-JRK Document
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                                                                                                     ENDORSEMENT
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              ATTACHED TO
                                 ENDORSEMENT
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                                 EFFECTIVE DATE
             FORMING A PART                                              NAMED INSURED                          AGENT NO.
                               (12:01 A.M. STANDARD
                      OF
                                      TIME)
             POLICY NUMBER

                                                      North Florida Obstetrical & Gynecological Associates
                  EKI3295685        5/6/2019                                                                       29406
                                                                               P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                    AMENDED INSURED VERSUS INSURED EXCLUSION WITH CREDITOR COMMITTEE CARVEBACK

                                    This endorsement modifies insurance provided under the following:

                                 DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION

       Section C., EXCLUSIONS, subsection 1., paragraph e., subparagraph v. is deleted in its entirety and replaced by the
       following:

           v. is brought or maintained by or on behalf of a bankruptcy or insolvency receiver, trustee, examiner, conservator,
              liquidator or rehabilitator for, or creditors' committee of, the Company, or any assignee thereof;

       All other terms and conditions of this Policy remain unchanged.




EKI-783 (01/09)                                                                                              6/13/2019 — Page 1 of 1
                                                                                                                NFOBGYN0037
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                                                                                                         ENDORSEMENT
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                                    ENDORSEMENT
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                                   EFFECTIVE DATE
             FORMING A PART                                                 NAMED INSURED                            AGENT NO.
                                 (12:01 A.M. STANDARD
                     OF
                                        TIME)
             POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                 EKI3295685           5/6/2019                                                                          29406
                                                                                 P.A.

                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                       CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM

       It is agreed that the Limit(s) of Liability section is amended by adding the following:


            • Notwithstanding anything in this policy to the contrary, if aggregate Insured losses attributable to terrorist acts
              certified under the federal Terrorism Risk Insurance Act exceed $100 billion in a calendar year and the Insurer has
              met its deductible under the Terrorism Risk Insurance Act, the Insurer shall not be liable for the payment of any
              portion of the amount of such losses that exceeds $100 billion, and in such case Insured losses up to that amount
              are subject to pro rata allocation in accordance with procedures established by the Secretary of the Treasury.


            • Certified Act of Terrorism means an act that is certified by the Secretary of the Treasury, in accordance with the
              provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism pursuant to such Act. The criteria
              contained in the Terrorism Risk Insurance Act for a Certified Act of Terrorism include the following:

                    1. The act resulted in Insured losses in excess of $5 million in the aggregate, attributable to all types of
                       insurance subject to the Terrorism Risk Insurance Act; and


                    2. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed
                       by an individual or individuals as part of an effort to coerce the civilian population of the United States or to
                       influence the policy or affect the conduct of the United States Government by coercion.




       All other terms and conditions of this policy remain unchanged




EKI-351 (1-15)                                                                                                    6/13/2019 — Page 1 of 1
                                                                                                                     NFOBGYN0038
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                                                                                                      ENDORSEMENT
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              ATTACHED TO
                                    ENDORSEMENT
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             FORMING A PART                                               NAMED INSURED                           AGENT NO.
                                 (12:01 A.M. STANDARD
                      OF
                                        TIME)
             POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                  EKI3295685          5/6/2019                                                                       29406
                                                                                 P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                 COST OF INVESTIGATIONS COVERAGE

                                      This endorsement modifies insurance provided under the following:

                                   DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION



       It is agreed that:


              The following is added to Section B., DEFINITIONS:

                       Cost of Investigation means reasonable and necessary legal costs, charges, fees and expenses incurred
                       by any of the Insureds in investigating a written demand, by one or more of the securities holders of the
                       Company upon the board of directors, the management board of the Company or the Company, to bring a
                       civil proceeding, including any derivative action, against any of the Directors and Officers on behalf of the
                       Company.


              Section B., DEFINITIONS, subsection 1., paragraph b. is deleted in its entirety and is replaced by:

                            b. a written demand, by one or more of the securities holders of the Company upon the board of
                               directors, the management board of the Company or the Company, to bring a civil proceeding,
                               including any derivative action, against any of the Directors and Officers on behalf of the Company;


              Section B., DEFINITIONS, subsection 3., paragraph b. is deleted in its entirety and is replaced by:

                            b. Cost of Investigation.




       All other terms and conditions of this Policy remain unchanged.




EKI-781 (01/09)                                                                                                6/13/2019 — Page 1 of 1
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                                                                                                      ENDORSEMENT
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              ATTACHED TO
                                 ENDORSEMENT
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             FORMING A PART                                              NAMED INSURED                             AGENT NO.
                               (12:01 A.M. STANDARD
                      OF
                                      TIME)
             POLICY NUMBER

                                                      North Florida Obstetrical & Gynecological Associates
                  EKI3295685        5/6/2019                                                                          29406
                                                                               P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                              DELETE PARAGRAPH III. FROM EXCLUSION N.

                                    This endorsement modifies insurance provided under the following:

                                 DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION

       It is agreed that Section C., EXCLUSIONS, subsection 1., paragraph n. iii. is deleted in its entirety.

       All other terms and conditions of this Policy remain unchanged.




EKI-775 (01/09)                                                                                                 6/13/2019 — Page 1 of 1
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                                                                                                       ENDORSEMENT
                                                                                                       NO. 22
                 ATTACHED TO
                                    ENDORSEMENT
                     AND
                                   EFFECTIVE DATE
             FORMING A PART                                                NAMED INSURED                            AGENT NO.
                                 (12:01 A.M. STANDARD
                      OF
                                        TIME)
                 POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                  EKI3295685           5/6/2019                                                                        29406
                                                                                 P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                     EMPLOYED LAWYERS EXTENSION

                                      This endorsement modifies insurance provided under the following:

                                   DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION

       The following is added to Section B.4.:

                 Employed Lawyers of the Company

       The following definition is added to Section B.:

                 Employed Lawyers means:

                 employees of the Company who:

                     1. are admitted to practice law in one or more jurisdictions in the United States of America; and

                     2. are employed within the Company's office of the general counsel or its functional equivalent; and

                     3. acting solely in the capacity of providing professional legal services to the Company.

                 An individual shall not be deemed to be an Employed Lawyer to the extent such individual renders or rendered
                 professional legal services to persons or entities other than the Insureds.




EKI-21 (04/08)                                                                                                   6/13/2019 — Page 1 of 1
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                                                                                                        ENDORSEMENT
                                                                                                        NO. 23
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                                    ENDORSEMENT
                     AND
                                   EFFECTIVE DATE
             FORMING A PART                                                NAMED INSURED                           AGENT NO.
                                 (12:01 A.M. STANDARD
                      OF
                                        TIME)
             POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                  EKI3295685           5/6/2019                                                                       29406
                                                                                 P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                               EXCESS BENEFIT TRANSACTION EXCISE TAX COVERAGE ENDORSEMENT

                                      This endorsement modifies insurance provided under the following:

                                   DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION

       The following is added to Section B., DEFINITIONS:


              Excess Benefit Transaction Excise Tax means any excise tax imposed by the Internal Revenue Service on an
              Insured Person who is an Organization Manager as a result of such Insured Persons participation in an
              Excess Benefit Transaction;

              Organization Manager means "organization manager" as that term is defined in Section 4958 of the Internal
              Revenue Code of 1986, as amended;

              Excess Benefit Transaction means an "excess benefit transaction" as that term is defined in Section 4958; and

              Disqualified Person means a "disqualified person" as that term is defined in Section 4958.


       Section B., DEFINITIONS, subsection 7., paragraph a. is replaced by the following:


           a. taxes, fines or penalties other than Excess Benefit Transaction Excise Tax; provided, however, coverage for
              such Excess Benefit Transaction Excise Tax shall not include:


                     i. any Excess Benefit Transaction Excise Tax exceeding $10,000;


                     ii. any Excess Benefit Transaction Excise Tax expressly prohibited in the bylaws, certificate of incorporation or
                         other organizational documents of the Insured Organization;


                    iii. any excise tax imposed by the Internal Revenue Service on any Disqualified Person for any Excess
                         Benefit Transaction.

       All other terms and conditions of this Policy remain unchanged.




EKI-899 (12/09)                                                                                                 6/13/2019 — Page 1 of 1
                                                                                                                   NFOBGYN0042
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                                                                                                        ENDORSEMENT
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              ATTACHED TO
                                   ENDORSEMENT
                     AND
                                   EFFECTIVE DATE
             FORMING A PART                                                NAMED INSURED                            AGENT NO.
                                (12:01 A.M. STANDARD
                      OF
                                        TIME)
             POLICY NUMBER

                                                       North Florida Obstetrical & Gynecological Associates
                  EKI3295685          5/6/2019                                                                        29406
                                                                                P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                 EXTRADITION COVERAGE ENDORSEMENT

                                     This endorsement modifies insurance provided under the following:

                                   DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION



       The following is added to Section B., DEFINITIONS, subsection 1.:

              Claim means:

                     ◦ an official request for Extradition of any of the Directors and Officers; or the execution of a warrant for the
                       arrest of any of the Directors and Officers where such execution is an element of Extradition.



       The following is added to Section B., DEFINITIONS, subsection 3.:


              Costs, Charges and Expenses means:

                     ◦ reasonable and necessary legal costs, charges, fees and expenses incurred by any of the Insureds
                       resulting from any of the Directors and Officers lawfully:


                           i. opposing, challenging, resisting or defending against any request for or any effort to obtain the
                              Extradition of any of such Directors and Officers; or


                           ii. appealing any order or other grant of Extradition of any of such Directors and Officers.



       The following is added to Section B., DEFINITIONS:


              Extradition means any formal process by which any of the Directors and Officers located in any country is
              surrendered to any other country for trial or otherwise to answer any criminal accusation.




       All other terms and conditions of this Policy remain unchanged.



EKI-788 (01/09)                                                                                                 6/13/2019 — Page 1 of 1
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                                                                                                      ENDORSEMENT
                                                                                                      NO. 25
              ATTACHED TO
                                 ENDORSEMENT
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                                 EFFECTIVE DATE
             FORMING A PART                                              NAMED INSURED                           AGENT NO.
                               (12:01 A.M. STANDARD
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             POLICY NUMBER

                                                      North Florida Obstetrical & Gynecological Associates
                  EKI3295685        5/6/2019                                                                        29406
                                                                               P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                FOREIGN CORRUPT PRACTICES ACT CIVIL PENALTIES COVERAGE

                                    This endorsement modifies insurance provided under the following:

                                 DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION



       It is agreed that Section B., DEFINITIONS, subsection 7.a., is deleted in its entirety, and replaced with the following:


                                a. taxes, fines or penalties, except civil penalties assessed against Directors and Officers
                                   pursuant to Section 2(g)(2)(B) of the Foreign Corrupt Practices Act;




       All other terms and conditions of this Policy remain unchanged.




EKI-990 (09/11)                                                                                               6/13/2019 — Page 1 of 1
                                                                                                                 NFOBGYN0044
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                                                                                                       ENDORSEMENT
                                                                                                       NO. 26
              ATTACHED TO
                                  ENDORSEMENT
                   AND
                                 EFFECTIVE DATE
             FORMING A PART                                               NAMED INSURED                            AGENT NO.
                              (12:01 A.M. STANDARD
                   OF
                                      TIME)
             POLICY NUMBER

                                                      North Florida Obstetrical & Gynecological Associates
               EKI3295685           5/6/2019                                                                         29406
                                                                               P.A.

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                          HEALTHCARE ORGANIZATION ENDORSEMENT WITH REGULATORY SUBLIMIT

                                    This endorsement modifies insurance provided under the following:

                                 DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION



       It is agreed that the Directors and Officers and Company Coverage Section is amended as follows.


              Section B., DEFINITIONS, subsection 4. is amended to include the following:

                         ◾ a member of any duly constituted committee of the Company;


                         ◾ any natural person engaged by a duly constituted committee of the Company for purposes of
                           providing an expert opinion with regard to a peer review or credentialing decision concerning an
                           individual physician; and


                         ◾ any individual manager of any operational department or any staff physician or faculty member of the
                           Company


                     regardless of whether any such person is directly employed by the Company or is considered an
                     independent contractor of the Company.


              Section B., DEFINITIONS, subsection 7., paragraph a. is replaced by:

                         a. taxes, fines or penalties, other than any HIPAA Expenses or EMTALA Expenses;


              Section B., DEFINITIONS, is amended to include the following:

                   ◦ Regulatory Agency means any federal, state or municipal agency, or other governmental or quasi-
                     governmental authority, or the office of any state or federal Attorney General, including, but not limited to the
                     U.S. Department of Justice or any other governmental department; provided, however, Regulatory Agency
                     shall not include the U.S. Securities and Exchange Commission or any similar state or local agency or
                     division.


                   ◦ HIPAA Expenses means civil fines or penalties assessed against an Insured alleging, based upon, arising
                     out of, attributable to, directly or indirectly resulting from, in consequence of, or in any way involving any
                     violation of the Health Insurance Portability and Accountability Act (Public Law 104-191), including any
EKI-1511 (08/13)                                                                                               6/13/2019 — Page 1 of 2
                                                                                                                  NFOBGYN0045
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                     amendments to or regulations promulgated under any such law.


                   ◦ EMTALA Expenses means civil fines or penalties assessed against an Insured alleging, based upon,
                     arising out of, attributable to, directly or indirectly resulting from, in consequence of, or in any way involving
                     any violation of the Emergency Medical Treatment and Active Labor Act ("EMTALA"), 42 U.S.C., 1396dd, et
                     seq., or any similar state or local statute, including any amendments to or regulations promulgated under
                     any such law.


              Section C., EXCLUSIONS, is amended to include the following:

                   ◦ brought or maintained by, on behalf of, in the right of, or at the direction of any Regulatory Agency,
                     whether in the right of such Regulatory Agency on behalf of an individual or entity, or by an individual or
                     entity on behalf of such Regulatory Agency, including any qui tam action provided, however, this exclusion
                     shall not apply to Costs, Charges and Expenses subject to the Regulatory Agency Claims sublimit set
                     forth below.


              Section D., LIMIT OF LIABILITY AND RETENTIONS, subsection 2., is amended to include the following:

                   ◦ The amount set forth in Item 3.1.a. relating to this Coverage Section shall be amended to include the below
                     listed sub-limit amounts. Such sub-limit amounts shall be a part of and not in addition to the limit of liability
                     set forth in Item 3.1.a. of the Declarations.

                                            sub-limit aggregate for all Costs, Charges and Expenses from all
                     $100,000
                                            Regulatory Agency Claims
                     $100,000               sub-limit aggregate for all HIPAA Expenses
                     $250,000               sub-limit aggregate for all EMTALA Expenses

       All other terms and conditions of this Policy remain unchanged.




EKI-1511 (08/13)                                                                                                6/13/2019 — Page 2 of 2
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                                                                                                          ENDORSEMENT
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              ATTACHED TO
                                  ENDORSEMENT
                     AND
                                  EFFECTIVE DATE
             FORMING A PART                                                 NAMED INSURED                                AGENT NO.
                               (12:01 A.M. STANDARD
                      OF
                                       TIME)
             POLICY NUMBER

                                                       North Florida Obstetrical & Gynecological Associates
                  EKI3295685         5/6/2019                                                                              29406
                                                                                P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                IRS FINES AND PENALTIES-COSTS, CHARGES AND EXPENSES ONLY

                                     This endorsement modifies insurance provided under the following:

                                  DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION

       The Directors and Officers and Company Coverage Section shall provide coverage for Costs, Charges and Expenses
       incurred in connection with a Claim seeking an assessment of taxes, initial taxes, additional taxes, tax deficiencies,
       excise taxes or penalties pursuant to the following sections of the Internal Revenue Code of 1986, as amended:

       Section 4911 (tax on excess expenditures to influence legislation);

       Section 4941 (a) and (b) (taxes on self-dealing);

       Section 4942 (a) and (b) (taxes on failure to distribute income);

       Section 4943 (a) and (b) (taxes on excess business holding);

       Section 4944 (a) and (b) (taxes on investments which jeopardize charitable purpose);

       Section 4945 (a) and (b) (taxes on taxable expenditures);

       Section 6652 (c)(1 )(A) (penalties for failure to file certain information returns or registration statements);

       Section 6655 (a)(1) (penalties for failure to pay estimated income tax);

       Section 6656 (penalties for failure to make deposit of taxes).

       Solely as to coverage provided pursuant to this Endorsement, Section B.7.a. of the Directors and Officers and Company
       Coverage Section shall not apply to taxes, fines or penalties incurred under the above referenced Internal Revenue Code
       sections.

       Nothing in this Endorsement shall be construed to provide coverage under this coverage section for Loss, other than
       Costs, Charges and Expenses, or for actual taxes, fines or penalties, incurred in connection with any Claim covered
       under this Endorsement.

       All other terms and conditions of this Policy remain unchanged.




EKI-905 (03/10)                                                                                                   6/13/2019 — Page 1 of 1
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                                                                                                        ENDORSEMENT
                                                                                                        NO. 28
              ATTACHED TO
                                   ENDORSEMENT
                     AND
                                   EFFECTIVE DATE
             FORMING A PART                                                NAMED INSURED                           AGENT NO.
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                      OF
                                        TIME)
             POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                  EKI3295685          5/6/2019                                                                        29406
                                                                                 P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                       MEDICAL SERVICES EXCLUSION

           In consideration of the premium paid, it is agreed this endorsement modifies insurance provided under the following:

                                   DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION




           1. Section C., EXCLUSIONS, subsection 1. is amended to include the following:

                           ◾ alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                             consequence of, or in any way involving any actual or alleged rendering or failing to render Medical
                             Services; provided, however, this exclusion shall not apply to any Claim(s) brought by a securities
                             holder of the Company solely in their capacity as such.


           2. Section B., DEFINITIONS, is amended to include the following:

                     ◦ Medical Services means any medical or dental services or advice actually or allegedly provided to others,
                       including, but not limited to:

                           a. providing medical, surgical, dental, psychiatric or nursing treatment, care, diagnosis or services,
                              including the furnishing of food or beverage in connection therewith;


                           b. providing routine and/or esoteric testing services used in the diagnosis, monitoring, and/or treatment
                              of disease or any other medical condition;


                           c. furnishing or dispensing drugs or medical, dental or surgical supplies or appliances;


                           d. handling or conducting postmortem examinations on humans;


                           e. providing veterinary services; or


                           f. the submission to any entity or insurance company, other than any federal, state or municipal
                              agency, or other governmental or quasi-governmental authority, for the payment or reimbursement of
                              any of the foregoing medical or dental services or advice.




EKI-1559 (4-15)                                                                                                 6/13/2019 — Page 1 of 2
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       All other terms and conditions of this Policy remain unchanged.




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                                                                                                     ENDORSEMENT
                                                                                                     NO. 29
                 ATTACHED TO
                                   ENDORSEMENT
                     AND
                                   EFFECTIVE DATE
             FORMING A PART                                               NAMED INSURED                           AGENT NO.
                                 (12:01 A.M. STANDARD
                      OF
                                        TIME)
                 POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                  EKI3295685          5/6/2019                                                                       29406
                                                                                 P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                   REMOVAL OF ALTERNATIVE DISPUTE RESOLUTION PROVISION

                                      This endorsement modifies insurance provided under the following:

                                                    GENERAL TERMS AND CONDITIONS

       Section J. ALTERNATIVE DISPUTE RESOLUTION is deleted in its entirety.

       All other terms and conditions of this Policy remain unchanged.




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                                                                                                       ENDORSEMENT
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                                      ENDORSEMENT
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                                     EFFECTIVE DATE
             FORMING A PART                                                 NAMED INSURED                           AGENT NO.
                                   (12:01 A.M. STANDARD
                      OF
                                          TIME)
                 POLICY NUMBER

                                                          North Florida Obstetrical & Gynecological Associates
                  EKI3295685            5/6/2019                                                                       29406
                                                                                   P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                           RUN-OFF ENDORSEMENT

                                        This endorsement modifies insurance provided under the following:

                                     DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION
                                                 GENERAL TERMS AND CONDITIONS

            I. The following applies to the DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION:

                 The following is added to Section C. EXCLUSIONS, subsection 1. Exclusions Applicable to All Insuring Clauses:

                        Insurer shall not be liable for Loss under this Coverage Section on account of any Claim:

                                 alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                                 consequence of, or in any way involving any Wrongful Act, including any Interrelated Wrongful
                                 Acts, taking place in whole or in part subsequent to 5/6/2019.

           II. The following are applicable to the GENERAL TERMS AND CONDITIONS form:


                 Pursuant to Section I. RUN-OFF COVERAGE, the Parent Company has elected the Run-Off Period designated in
                 Item 6.5. of the Declarations.

                 Under Section E. CANCELLATION, subsections 1. and 3. are deleted in there entirety.

                 Section H. DISCOVERY PERIOD is deleted in its entirety, and any reference to the Discovery Period wherever it
                 may be found in this form.

           III. Any references to the Discovery Period are inapplicable wherever this term may be found in this Policy or the
                Declarations pertaining to the Directors And Officers And Company Coverage Section.

       All other terms and conditions of this Policy remain unchanged.




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                                                                                                         ENDORSEMENT
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             FORMING A PART                                                 NAMED INSURED                           AGENT NO.
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                      OF
                                        TIME)
                 POLICY NUMBER

                                                        North Florida Obstetrical & Gynecological Associates
                  EKI3295685           5/6/2019                                                                        29406
                                                                                 P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                             SCIENTIFIC AND ADVISORY BOARD EXTENSION

                                      This endorsement modifies insurance provided under the following:

                                   DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION

       The following is added to Section B. DEFINITIONS, subsection 4.:

                 Directors and/or Officers means any person who was, now is, or shall become:

                        a natural person member of the Scientific or Advisory Board of the Company (collectively "Advisory Board
                        Members") that is indemnified by the Company pursuant to a written indemnification agreement. The
                        Company agrees to indemnify the Advisory Board Members to the fullest extent permitted by law, taking
                        all steps necessary or advisable in furtherance thereof, including the making in good faith of any application
                        for court approval, the passing of any resolution by the board of directors or shareholders of the Company,
                        the amendment of any charter, bylaws, operating agreement or similar documents of the Company or the
                        execution of any contract. The Company further agrees to advance Costs, Charges and Expenses
                        actually and reasonably incurred by any Advisory Board Member in defending any threatened, pending or
                        contemplated action, suit or proceeding prior to a final disposition of any such action, suit or proceeding and
                        shall not require any determination or adjudication, interim or final, of the entitlement of the Advisory Board
                        Member to indemnification, where permitted by law to do so. The financial ability of any Advisory Board
                        Member to make repayment shall not be a prerequisite to the making of such an advance, and the right to
                        receive advancement of Costs, Charges and Expenses herein is a contractual right. The agreements
                        contained in this paragraph are binding upon the Company and enforceable by the Insurer or the Advisory
                        Board Member.

                 All other terms and conditions of this Policy remain unchanged.




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                                                                                                       ENDORSEMENT
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                                  EFFECTIVE DATE
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                      OF
                                       TIME)
             POLICY NUMBER

                                                       North Florida Obstetrical & Gynecological Associates
                  EKI3295685          5/6/2019                                                                       29406
                                                                                P.A.

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                        TOLLING OR WAIVING THE STATUTE OF LIMITATIONS

                                     This endorsement modifies insurance provided under the following:

                                  DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION

       The following is added to Section B., DEFINITIONS, subsection 1.:


              Claim means:

                       a written request received by the Company to toll or waive the statute of limitations regarding a potential
                       Claim. Such Claim shall be commenced by the receipt of such request.




       All other terms and conditions of this Policy remain unchanged.




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                                                                                                    ENDORSEMENT
                                                                                                    NO. 33
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                                  ENDORSEMENT
                    AND
                                 EFFECTIVE DATE
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                               (12:01 A.M. STANDARD
                     OF
                                      TIME)
             POLICY NUMBER

                                                      North Florida Obstetrical & Gynecological Associates
              EKI3295685            5/6/2019                                                                       29406
                                                                               P.A.

                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                               AMENDATORY ENDORSEMENT - FLORIDA

                                    This endorsement modifies insurance provided under the following:

                                             GENERAL TERMS AND CONDITIONS
                                        EMPLOYMENT PRACTICES COVERAGE SECTION
                                 DIRECTORS AND OFFICERS AND COMPANY COVERAGE SECTION
                                              FIDUCIARY COVERAGE SECTION




           I. The following applies to the General Terms and Conditions form:


              The following is added to Section E., CANCELLATION, paragraph 3.:

                      Any premium refundable to the Parent Company shall be remitted to the Parent Company within fifteen
                      (15) working days of the effective date of cancellation.


              Section D., WARRANTY, is replaced by:

                    D. REPRESENTATIONS


                             The particulars and statements represented in the Application are the basis of this Policy and are
                             to be considered as incorporated into and constituting a part of this Policy and each Coverage
                             Section.

                             By acceptance of this Policy, the Insureds agree that:

                                1. the statements in the Application are their representations, that such representations shall
                                   be deemed material to the acceptance of the risk or the hazard assumed by Insurer under
                                   this Policy, and that this Policy and each Coverage Section are issued in reliance upon the
                                   truth of such representations; and


                                2. in the event the Application, including materials submitted or required to be submitted
                                   therewith, contains any misrepresentation or omission made with the intent to deceive, or
                                   contains any misrepresentation or omission which materially affects either the acceptance of
                                   the risk or the hazard assumed by Insurer under this Policy, this Policy, including each and
                                   all Coverage Sections, may be void ab initio with respect to any Insureds who had knowledge
                                   of such misrepresentation or omission.


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              The following conditions are added:

                       NON-RENEWAL

                           1. If the Insurer decides not to renew this Policy, the Insurer will mail or deliver to the Parent
                              Company written notice of non-renewal, accompanied by the reason for non-renewal, at least forty-
                              five (45) days prior to the expiration of this Policy.


                           2. Any notice of non-renewal will be mailed or delivered to the Parent Company's last mailing address
                              known to the Insurer. If notice is mailed, proof of mailing will be sufficient proof of notice.


                       LOSS PAYMENT

                              When the Parent Company and Insurer agree to settlement of any Claim, the Insurer shall tender
                              payment according to the terms of the agreement no later than twenty (20) days after such
                              settlement is reached.


                       DECLARATIONS AMENDMENT

                              The Declarations of this Policy is amended by the addition of the following:

                               _________________________________________________ ____________________________
                               Agent's Signature                                               Date


           II. If the Employment Practices Coverage Section is included in this Policy, the following apply:


              Under Section B., DEFINITIONS, paragraph 10.c. is replaced by:

                           c. punitive or exemplary damages, except to the extent that such punitive damages are imposed on an
                              Insured solely due to the insured's vicarious liability;


              Under Section C., EXCLUSIONS, paragraph 3. is replaced by:

                    3. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of, or
                       in any way involving:


                           a. the actual, alleged or threatened discharge, dispersal, release, escape, seepage, migration or
                              disposal of Pollutants; or


                           b. any direction or request that any Insured test for, monitor, clean up, remove, contain, treat, detoxify
                              or neutralize Pollutants, or any voluntary decision to do so; including without limitation any such
                              Claim by or on behalf of the Company, its securities holders or creditors based upon, arising out of,
                              or attributable to the matters described in this exclusion. Provided, however, this exclusion shall not
                              apply to that part of any Claim under this Coverage Section where such Claim is for Retaliation.


                       For purposes of this exclusion, Pollutants mean any solid, liquid, gaseous or thermal irritant or
                       contaminant, including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes
                       materials to be recycled, reconditioned or reclaimed.


          III. If the Directors and Officers and Company Coverage Section is included in this Policy, the following apply:


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              Under Section B., DEFINITIONS, paragraph 7.c. is replaced by:

                         c. punitive or exemplary damages, except to the extent that such punitive damages are imposed on an
                            Insured solely due to the insured's vicarious liability;


              Under Section C., EXCLUSIONS, paragraph 1.c. is replaced by:

                         c. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                            consequence of, or in any way involving:


                                 i. the actual, alleged or threatened discharge, dispersal, release, escape, seepage, migration or
                                    disposal of Pollutants; or


                                ii. any direction or request that any Insured test for, monitor, clean up, remove, contain, treat,
                                    detoxify or neutralize Pollutants, or any voluntary decision to do so; including without
                                    limitation any such Claim by or on behalf of the Company, its securities holders or creditors
                                    based upon, arising out of, or attributable to the matters described in this exclusion. Provided,
                                    however, this exclusion shall not apply to that part of any Claim under this Coverage Section
                                    where such Claim is for Retaliation.


                            For purposes of this exclusion, Pollutants mean any solid, liquid, gaseous or thermal irritant or
                            contaminant, including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste
                            includes materials to be recycled, reconditioned or reclaimed.


          IV. If the Fiduciary Coverage Section is included in this Policy, the following apply:


              Under Section B., DEFINITIONS, paragraph 10.c. is replaced by:

                         c. punitive or exemplary damages, except to the extent that such punitive damages are imposed on an
                            Insured solely due to the insured's vicarious liability;


              Under Section C., EXCLUSIONS, paragraph 2.c. is replaced by:

                         c. for or which seeks or constitutes the multiple portion of any multiplied damage award;


              Under Section C., EXCLUSIONS, paragraph 1.c. is replaced by:

                         c. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
                            consequence of, or in any way involving:


                                 i. the actual, alleged or threatened discharge, dispersal, release, escape, seepage, migration or
                                    disposal of Pollutants; or


                                ii. any direction or request that any Insured test for, monitor, clean up, remove, contain, treat,
                                    detoxify or neutralize Pollutants, or any voluntary decision to do so; including without
                                    limitation any such Claim by or on behalf of the Company, its securities holders or creditors
                                    based upon, arising out of, or attributable to the matters described in this exclusion. Provided,
                                    however, this exclusion shall not apply to that part of any Claim under this Coverage Section
                                    where such Claim is for Retaliation.


                            For purposes of this exclusion, Pollutants mean any solid, liquid, gaseous or thermal irritant or
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                           contaminant, including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste
                           includes materials to be recycled, reconditioned or reclaimed.




       All other terms and conditions of this Policy remain unchanged.




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                                                                                                   ENDORSEMENT
                                                                                                   NO. 34
              ATTACHED TO
                                ENDORSEMENT
                   AND
                                EFFECTIVE DATE
             FORMING A PART                                             NAMED INSURED                           AGENT NO.
                              (12:01 A.M. STANDARD
                   OF
                                     TIME)
             POLICY NUMBER

                                                      North Florida Obstetrical & Gynecological Associates
               EKI3295685          5/6/2019                                                                        29406
                                                                               P.A.

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                 FLORIDA POLICYHOLDER NOTICE

                                                     COMPANY TELEPHONE NUMBER

       The phone number shown on the policy provides a means of direct contact with the Company.




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                                               POLICYHOLDER DISCLOSURE

                           NOTICE OF TERRORISM INSURANCE COVERAGE - FLORIDA

TERRORISM RISK INSURANCE ACT

Under the Terrorism Risk Insurance Act of 2002, as amended pursuant to the Terrorism Risk Insurance Program Reauthorization
Act of 2015, effective January 1, 2015 (the "Act"), you have a right to purchase insurance coverage for losses arising out of acts
of terrorism, as defined in Section 102(1) of the Act: The term "certified acts of terrorism" means any act that is certified by the
Secretary of the Treasury - in consultation with the Secretary of Homeland Security, and the Attorney General of the United
States - to be an act of terrorism; to be a violent act or an act that is dangerous to human life, property, or infrastructure; to have
resulted in damage within the United States, or outside the United States in the case of certain air carriers or vessels or the
premises of a United States mission; to have been committed by an individual or individuals as part of an effort to coerce the
civilian population of the United States or to influence the policy or affect the conduct of the United States Government by
coercion.


You should know that where coverage is provided by this policy for losses resulting from "certified acts of terrorism," such losses
may be partially reimbursed by the United States Government under a formula established by federal law. However, your policy
may contain other exclusions which might affect your coverage, such as an exclusion for nuclear events. Under the formula, the
United States Government generally reimburses eighty-five percent (85%) of covered terrorism losses in calendar year 2015 that
exceed the statutorily established deductible paid by the insurance company providing the coverage. This percentage of United
States Government reimbursement decreases by one percent (1%) every calendar year beginning in 2016 until it equals eighty
percent (80%) in 2020. The premium charged for this coverage is provided below and does not include any charges for the
portion of loss that may be covered by the Federal Government under the Act.

You should also know that the Act, as amended, contains a $100 Billion Cap that limits United States Government reimbursement
as well as insurers' Liability for losses resulting from "certified acts of terrorism" when the amount of such losses in any one
calendar year exceeds $100 billion. If the aggregate insured losses for all insurers exceed $100 billion, your coverage may be
reduced.

CONDITIONAL TERRORISM COVERAGE

The federal Terrorism Risk Insurance Program Reauthorization Act of 2015 is scheduled to terminate at the end of December 31,
2020, unless renewed, extended or otherwise continued by the federal government. Should you select Terrorism Coverage
provided under the Act and the Act is terminated December 31, 2020, any terrorism coverage as defined by the Act provided in
the policy will also terminate.

IN ACCORDANCE WITH THE ACT, YOU MUST CHOOSE TO SELECT OR REJECT COVERAGE FOR
"CERTIFIED ACTS OF TERRORISM" BELOW:


               I hereby elect to purchase certified terrorism coverage for a premium of $219.00. I understand that the federal
      X        Terrorism Risk Insurance Program Reauthorization Act of 2015 may terminate on December 31, 2020. Should
               that occur my coverage for terrorism as defined by the Act will also terminate.


               I hereby reject the purchase of certified terrorism coverage.
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                                                                 North Florida Obstetrical & Gynecological Associates P.A.
             Policyholder / Applicant's Signature*                                 Named Insured / Firm


                                                                                       EKI3295685
                         Print   Name*                                          Policy Number, if available



                            Date*

* If
   rejected, signature required & completed form must be faxed to E-Risk Services @ (973) 252-5146. Please contact your
broker with any questions.




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